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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al.,1                            Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)


                                          AFFIDAVIT OF SERVICE

       I, Alain B. Francoeur, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        On April 7, 2025, at my direction and under my supervision, employees of Kroll caused
the following document to be served by the method set forth on the Core/2002 Service List attached
hereto as Exhibit A:

     •       Order (I) Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit
             Acceptances Thereof Pursuant to Section 1121 of the Bankruptcy Code and (II) Granting
             Related Relief [Docket No. 1253]




1
  The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 2371 Liberty Way, Virginia Beach, Virginia 23456.
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Dated: April 22, 2025
                                                                 /s/ Alain B. Francoeur
                                                                  Alain B. Francoeur
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on April 22, 2025, by Alain B. Francoeur, proved to
me on the basis of satisfactory evidence to be the person who executed this affidavit.

/s/ HERBERT BAER
Notary Public, State of New York
No 01BA6205563
Qualified in Westchester County
Commission Expires May 11, 2025




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                       Exhibit A
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                                                                                                                                                             Exhibit A
                                                                                                                                                       Core/2002 Service List
                                                                                                                                                      Served as set forth below

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                                                                                                                                                       Exhibit A
                                                                                                                                                 Core/2002 Service List
                                                                                                                                                Served as set forth below

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                                                                                                                                                              Exhibit A
                                                                                                                                                        Core/2002 Service List
                                                                                                                                                       Served as set forth below

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                                                                                                                                                        Exhibit A
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                                                                                                                                                     Core/2002 Service List
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              In re: Franchise Group, Inc., et al.
              Case No. 24-12480 (LSS)                                                                                                                     Page 8 of 9
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                                                                                                                                            Exhibit A
                                                                                                                                      Core/2002 Service List
                                                                                                                                     Served as set forth below

                                                   DESCRIPTION                                                   NAME                                                     ADDRESS                                                              EMAIL            METHOD OF SERVICE
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